TRAN SCRIBT QRDER FORM MKT-13) - RE STRU ON LAST PAGE BEFORE COMPLETING
cor = CEE eS tage t ofl PagelD 199

District Court Northern District of Texas District Court Docket No._4:23-cr-061

Short Case Title USA v Kirkland
ONLY ONE COURT REPORTER PER FORM Court Reporter Monica Guzman

Date Notice of Appeal Filed in the District Court 10-23-2023 Court of Appeals No, 23-11081

PART I. (To be completed by party ordering transcript. Do not complete this form unless financial arrangements have been made, see
instructions on page 2.)
A. Complete the Following:
ONo hearings O'Transcript is unnecessary for appeal purposes DTranscript is already on file in the Clerk’s Office
OR
Check all of the following that apply, include date of the proceeding.

This is to order a transcript of the following proceedings: D/Bail Hearing OVoir Dire
OOpening Statement of Plaintiff OOpening Statement of Defendant
OClosing Argument of Plaintiff OClosing Argument of Defendant:
O)Opinion of court OJury Instructions OCiSentencing
Other proceedings not listed above:
Hearing Date(s) | Proceeding Judge/Magistrate
6-15-23 Guilty Plea at Arraignment Ray

Failure to specify in adequate detail those proceedings to be transcribed, or failure to make prompt satisfactory
financial arrangements for transcript, are grounds for DISMISSAL OF APPEAL.

B. This is to certify satisfactory financial arrangements have been made. Method of Payment:

OPrivate Funds; Criminal Justice Act Funds (Enter Authorization-24 via eVoucher);

OOther IFP Funds; OMAdvance Payment Waived by Reporter; U.S. Government Funds

O)Other. Z
Signature zed 2 Date Transcript Ordered_11-8-2023
Print Name Vincent E. Wisely Phone 214-802-5516

Counsel for Mark Anthony Kirkland
Address 325 N. St. Paul St., Suite 3100, Dallas Texas 75201

Email of Attorney: vincewisely@gmail.com

PART II. COURT REPORTER ACKNOWLEDGMENT (To be completed by the court reporter and filed with the Court of
Appeals within 10 days after receipt. Read instructions on page 2 before completing.)

Date Transcript Order Date Satisfactory Arrangements Estimated Completion Date | Estimated Number of
Received for Payment were Made Pages

Payment arrangements have NOT been made or are incomplete.
Reason: O)Deposit not received LD) Unable to contact ordering party Awaiting creation of CJA 24 eVoucher

DOther (Specify)

Date Signature of Reporter Tel.
Email of Reporter

Part III. NOTIFICATION THAT TRANSCRIPT HAS BEEN FILED IN THE DISTRICT COURT (To be completed by
court reporter on date of filing transcript in the District Court. This completed form is to be-filed with the Court of Appeals.)

This is to certify that the transcript has been completed and filed at the District Court today.

Actual Number of Pages Actual Number of Volumes

Date Signature of Reporter

